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                        UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF FLORIDA

                            No. 1:20-cv-25022-MOORE/LOUIS

    GHADA OUEISS,

                                   Plaintiff,

                      vs.

    MOHAMMED BIN SALMAN BIN
    ABDULAZIZ AL SAUD, et al.,
                               Defendants.

    _____________________________________/




                       MIDDLE EAST NEWS FZ-LLC’S
     REPLY IN FURTHER SUPPORT OF MOTION TO DISMISS PLAINTIFF’S FIRST
                          AMENDED COMPLAINT
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                                   PRELIMINARY STATEMENT
               Plaintiff’s Omnibus Response in Opposition to Defendants’ Motions to Dismiss
   Amended Complaint, ECF No. 172 (the “Opposition” or “Opp.”), 1 attempts to group together all
   “Foreign Defendants” to obscure the fact that Defendant Middle East News itself is not alleged to
   have engaged in any malfeasance. Instead, other defendants are alleged to have: (1) hacked
   Plaintiff’s phone and stolen her private photographs and videos; (2) recruited, via Twitter, a
   “Network” of “American Nodes”; and (3) leaked stolen and sometimes altered material that
   Plaintiff alleges to be insulting, defamatory, or private. Plaintiff spends the majority of the
   Opposition arguing that she is the subject of a conspiracy to hack, leak, and defame, yet there are
   no allegations that Middle East News was involved in, or even knew of, the alleged hacking,
   recruiting, or leaking of stolen information.
               The claims against Middle East News must be dismissed for lack of personal
   jurisdiction. Apart from implausible and conclusory allegations of Middle East News joining a
   conspiracy, Plaintiff’s Opposition fails to identify any contact between Middle East News and the
   relevant jurisdiction, Florida. There are no allegations that Middle East News undertook any action
   in Florida or had any interaction with, or even knew, any of the Florida defendants. The Amended
   Complaint seeks to draw Middle East News into this litigation based on a single post on its Arabic-
   language Twitter account that mentioned Plaintiff, a Lebanese journalist who works in Qatar.
   Middle East News’ Motion to Dismiss pointed out that this “Financial Photo Tweet” is not alleged
   to have been viewed by any social media user in Florida and did not reference any individual
   located in Florida. Plaintiff’s Opposition does not dispute this lack of contact between Middle East
   News and Florida.
               However, if Plaintiff’s allegations of conspiracy and agency were credited, the
   doctrines of conduct-based and derivative immunity would shield Middle East News from
   Plaintiff’s claims. The Opposition cites no compelling authority to the contrary.
               Lastly, Plaintiff’s Opposition fails to rebut compelling authority requiring the
   dismissal of Plaintiff’s Florida common law claims against Middle East News because they do not
   apply to the extraterritorial conduct alleged here.


   1
        Terms not defined herein are to be given the meaning used in Middle East News’ Motion to
   Dismiss Plaintiff’s First Amended Complaint, ECF No. 169 (the “Motion” or “MEN Mot.”), and
   the Amended Complaint, ECF No. 135 (the “Amended Complaint” or “Am. Compl.”).



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                                              ARGUMENT
   I.   PLAINTIFF HAS FAILED TO ESTABLISH PERSONAL JURISDICTION OVER
        MIDDLE EAST NEWS
            A.     PLAINTIFF DOES NOT DISPUTE THAT RULE 4(K)(2) CANNOT PROVIDE
                   PERSONAL JURISDICTION OVER MIDDLE EAST NEWS
                 As explained in Middle East News’ Motion to Dismiss, Rule 4(k)(2) cannot confer
   jurisdiction over a party absent a federal claim against that party. MEN Mot. at 4-5 (collecting
   cases). Because the Amended Complaint dropped all federal claims against Middle East News,
   Rule 4(k)(2) is inapplicable, and only Middle East News’ contacts with Florida, and not the United
   States as a whole, may be considered when evaluating personal jurisdiction. MEN Mot. at 5.
   Plaintiff does not dispute any of these conclusions.
            B.     PLAINTIFF DOES NOT DISPUTE THAT THIS COURT LACKS GENERAL
                   JURISDICTION OVER MIDDLE EAST NEWS
                 The Opposition similarly fails to dispute that there are no alleged contacts between
   Middle East News and Florida that could support general jurisdiction. While the Opposition
   repeats that Middle East News “owns and operates news network Al Arabiya, which has offices
   in Saudi Arabia and the U.S.,” Opp. at 8, because Plaintiff has dropped her federal claims against
   Middle East News, the only forum at issue for the contacts analysis is Florida. As such, allegations
   of offices elsewhere in the United States are irrelevant to the question of personal jurisdiction.
            C.     PLAINTIFF HAS FAILED TO ADEQUATELY ESTABLISH PERSONAL JURISDICTION
                   OVER MIDDLE EAST NEWS BASED ON THE FINANCIAL PHOTO TWEET
                 As previously stated, the only alleged misconduct by Middle East News was posting
   the Financial Photo Tweet. 2 Am. Compl. ¶¶ 179-82. But Middle East News’ alleged posting of
   that single tweet is insufficient to establish personal jurisdiction under Florida’s long-arm statute
   or constitutional due process. MEN Mot. at 9. As Middle East News’ Motion pointed out, the
   Amended Complaint contains no allegations that anyone in Florida retweeted or even viewed the
   Financial Photo Tweet. Id. at 12. Seemingly recognizing this fatal deficiency in the allegations,
   Plaintiff attempts to tie the Financial Photo Tweet to Florida Defendants Van Rider and Jundi by
   claiming, for the first time in her Opposition, that the Financial Photo Tweet “‘led to a significant


   2
         The Amended Complaint broadly asserts that Middle East News was involved in “repeated
   harassment and intimidation of Ms. Oueiss[,]” Am. Compl. ¶ 270, but fails to allege any details in
   support of that conclusory allegation.



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   spike in negative Twitter activity aimed at Ms. Oueiss’ in which Van Rider and Jundi participated
   and incited.” Opp. at 29 (citing Am. Compl. ¶ 182). Notably, this claim is not supported by any of
   the allegations in the Amended Complaint. There is no allegation that Van Rider and Jundi
   accessed the Financial Photo Tweet and no explanation for how the Financial Photo Tweet bares
   any causal connection to their alleged activities in Florida.
               The lack of allegations that anyone in Florida accessed the Financial Photo Tweet is
   fatal to personal jurisdiction. See Catalyst Pharms. Inc. v. Fullerton, 748 F. App’x 944, 947 (11th
   Cir. 2018) (“While these allegations may establish that [the internet] statements were accessible
   in Florida, they do not point to any facts showing the statements were accessed in Florida.”
   (emphasis added)); Weiner v. Podesto, No. 19-60859-CIV, 2019 WL 7708494, at *4 (S.D. Fla.
   Aug. 2, 2019) (dismissing for lack of personal jurisdiction libel claims where plaintiff failed to
   allege access by a third party in Florida); Mar. Exec., LLC v. Larson Elecs., LLC, No. 17-cv-60323,
   2018 WL 2938376, at *4 (S.D. Fla. June 11, 2018) (“[W]hile the alleged defamatory statements
   were arguably accessible in Florida, [Plaintiff] has not established that the allegedly defamatory
   statements were . . . accessed by a third-party in Florida.”); Internet Sols. Corp. v. Marshall, 39
   So. 3d 1201, 1216 (Fla. 2010) (“A nonresident defendant commits the tortious act of defamation
   in Florida for purposes of Florida’s long-arm statute . . . provided that the website posts containing
   the statements are accessible in Florida and accessed in Florida.”). Nor does Plaintiff allege that
   the Financial Photo Tweet was directed at a Florida resident, corporation, or property, or that her
   harm was felt exclusively or primarily in Florida. See White Wave Int’l Labs, Inc. v. Lohan, No.
   8:09-cv-1260-T-33MAP, 2011 WL 2669658, at *3 (M.D. Fla. July 7, 2011) (“[T]he cases in which
   the Eleventh Circuit has applied [Florida’s long-arm statute] to foreign torts causing injury within
   Florida, the conduct was directed at Florida residents, corporations, or property, and the harm was
   felt exclusively or primarily in Florida.”). As such, Florida’s long-arm statute is clearly not
   satisfied here.
               Moreover, despite Plaintiff’s arguments to the contrary, the exercise of personal
   jurisdiction over Middle East News would plainly “offend traditional notions of fair play and
   substantial justice.” Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1024 (2021)
   (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316-317 (1945)). Middle East News is “at
   home” in the United Arab Emirates and would bear a substantial burden defending these claims in
   Florida. Plaintiff neither resides in Florida, nor has she set forth any particular interest that Florida



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   has with respect to her claims against Middle East News.
                 Plaintiff relies on Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 773, 780-81 (1984),
   for the proposition that even a small portion of harm, here 0.14% of the total tweets allegedly
   harassing Ouiess, is sufficient to provide Florida with a particular interest in resolving her claims.
   Opp. at 32-33. The Supreme Court in Keeton held, however, that a state within which only “a small
   proportion” of harm occurred may be a proper forum so long as “the defendant has ‘certain
   minimum contacts . . . such that the maintenance of the suit does not offend traditional notions of
   fair play and substantial justice.” Keeton, 465 U.S. at 773, 780-81 (cleaned up). In Keeton, the bulk
   of the harm alleged occurred outside of New Hampshire, but the Respondent “continuously and
   deliberately exploited the New Hampshire market.” Id. at 781. Here, Middle East News has no
   contacts with Florida and has not done anything to exploit the Florida market. As such, the minimal
   harm alleged to have occurred in Florida is, by itself, insufficient to support jurisdiction.
            D.     CONCLUSORY ALLEGATIONS OF A CONSPIRACY OR AGENCY RELATIONSHIP
                   WITH OTHER DEFENDANTS ARE INSUFFICIENT TO RENDER SPECIFIC PERSONAL
                   JURISDICTION OVER MIDDLE EAST NEWS
                       1.    Middle East News Is Not Alleged To Have Participated In Hacking,
                             Recruiting, Or Defamatory Leaking
                 Plaintiff spends the majority of the Opposition arguing that she is the subject of a
   conspiracy to hack, leak, and defame, yet she has repeatedly failed to explain how Middle East
   News was involved in, or even knew of, the alleged hacking, recruiting, or leaking of defamatory
   stolen information. The Financial Photo Tweet that Plaintiff complains of is not alleged to be in
   any way related to any photos or data stolen from Plaintiff’s phone during the purported
   conspiracy. In her Opposition, Plaintiff recites what she refers to as “strong circumstantial
   evidence of the Conspiracy,” but missing from her recitation is any reference to Middle East News.
   Opp. at 58 (identifying only the actions of other defendants).
                 It cannot be that any information critical of Plaintiff posted by any entity establishes a
   conspiracy with defendants located in Florida. Despite already having the opportunity to amend
   her complaint, Plaintiff has failed to allege how the Financial Photo Tweet was connected to an
   alleged conspiracy to hack and leak, or with any Florida defendants.




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                      2.   The Lack Of Connection Between Middle East News And Other
                           Defendants Is Fatal
               Plaintiff argues that Middle East News was a so-called “critical actor[]” in what she
   characterizes as “the dissemination and amplification phase” of the alleged conspiracy between
   defendants. Opp. at 8. But the only allegations of any connection between Middle East News and
   any other defendant are that the Crown Prince allegedly “directs and controls the commercial
   activities and employees” of Middle East News, id. at 8-9, and that that Middle East News “is a
   mere instrumentality of, and is dominated and controlled by, Defendant MBS.” Am. Compl. ¶ 134.
               Plaintiff asserts that Middle East News acted in concert with the Crown Prince to tweet
   an allegedly doctored financial photo in an effort to “harm her journalistic integrity.” Opp. at 9.
   But the only fact alleged in support of this conclusion is that MBS is the majority owner of Middle
   East News. Am. Compl. ¶ 134. That sole factual allegation of majority ownership, even if credited,
   is insufficient as a matter of law to support allegations of control and domination. See, e.g., United
   States v. Fid. Cap. Corp., 920 F.2d 827, 837 (11th Cir. 1991) (“The mere fact that a person owns
   and controls a corporation will not justify a finding of abuse of the corporate entity [for purposes
   of an alter ego theory], even though that person may have used the corporation to promote his own
   ends.”); In re Friedman’s, Inc. Derivative Litig., 386 F. Supp. 2d 1355, 1362-63 (N.D. Ga. 2005)
   (“[E]ven proof of majority ownership of a company does not strip the directors of the presumptions
   of independence, and that their acts have been taken in good faith and in the best interests of the
   corporation. There must be coupled with the allegation of control such facts as would demonstrate
   that through personal or other relationships the directors are beholden to the controlling person.”
   (cleaned up)); Estate of Jackson v. Gen. Elec. Cap. Corp. (In re Fundamental Long Term Care),
   507 B.R. 359, 374 (Bankr. M.D. Fla. 2014) (“[A]ny one of facts alleged in the complaint (i.e., an
   83% ownership interest, majority control of the board, day-to-day control over business operations,
   etc.), taken by itself, would not plausibly give rise to domination or control[.]”). Plaintiff cites no
   authority to the contrary. As such, Plaintiff has failed to allege that Middle East News is the alter
   ego of MBS, or that MBS controlled and dominated Middle East News.
               Plaintiff cites Wilcox v. Stout, 637 So. 2d 335, 337 (Fla. Dist. Ct. App. 1994) for the
   proposition that Florida’s long-arm statute confers personal jurisdiction if allegations of a
   conspiracy are well-pled and a member of the conspiracy committed a tort in the state. Opp. at 27.
   But Plaintiff’s assertion that Middle East News is a member of the alleged conspiracy, however,




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    is not well-pled. See Marjam Supply Co. of Fla., LLC v. Pliteq, Inc., No. 15-24363-CIV, 2016 WL
    11501768, at *4-5 (S.D. Fla. Sept. 14, 2016) (rejecting conspiracy-based personal jurisdiction and
    distinguishing from Wilcox on the basis that “[i]n this case, there are no facts supporting URB’s
    involvement in a conspiracy with Pliteq. To allege a civil conspiracy, Marjam must cite facts
    allowing for the reasonable inference” of a conspiracy). As detailed in the Motion to Dismiss, there
    are no allegations that Middle East News had any role in hacking or leaking, and no allegations
    that Middle East News had any interactions with co-defendants (apart from the conclusory
    allegations of control by the Crown Prince addressed above).
                  Plaintiff’s reliance on Sonic Momentum B, LP v. Motorcars of Distinction, Inc.,
    No. 11-80591-CIV, 2011 WL 4738190 (S.D. Fla. Oct. 7, 2011) and United States v. Massey, 89
    F.3d 1433 (11th Cir. 1996) to argue that she does not need to allege details to establish a conspiracy
    is misplaced. Massey holds that a criminal conviction for bribery may be sustained on the basis of
    circumstantial evidence elicited at trial—a principle that is inapplicable to whether Plaintiff has
    adequately pled that Middle East News joined a conspiracy to hack and leak. 89 F.3d at 1439
    (upholding bribery conviction where circumstantial evidence of a criminal agreement was
    presented at trial). While Sonic Momentum recognizes that that the exact “terms of the
    [conspiratorial] agreement, when it was entered, . . . or other particularities” need not be alleged,
    it recognizes that the plaintiff still must “plead . . . facts which raise a reasonable expectation that
    discovery will reveal evidence of” a conspiracy. 2011 WL 4738190, at *5. Plaintiff has not done
    so here with respect to Middle East News.
    II.   IF THE AMENDED COMPLAINT’S ALLEGATIONS ARE ASSUMED TO BE
          TRUE, THEN MIDDLE EAST NEWS IS ENTITLED TO SOVEREIGN IMMUNITY
             A.     MIDDLE EAST NEWS WOULD BE ENTITLED TO COMMON LAW CONDUCT-BASED
                    IMMUNITY
                  Common law conduct-based immunity is based on a defendant’s conduct irrespective
    of that defendant’s official status. Yousuf v. Samantar, 699 F.3d 763, 774 (4th Cir. 2012). Plaintiff
    concedes that the Court may find sovereign immunity even if the Department of State does not
    issue a Suggestion of Immunity. Opp. at 18-19. In such an instance, courts look to whether the
    State Department’s policy for granting immunity is satisfied. Samantar v. Yousuf, 560 U.S. 305,
    311-12 (2010).
                  Middle East News adopts and incorporates by reference the arguments of the Crown
    Prince concerning conduct-based immunity, including that any actions taken by the Crown Prince



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    as part of the alleged “hack and leak operation” would have been an exercise of his official powers
    and not an act in his personal capacity. Crown Prince Mot., ECF 161, at 16-20; Crown Prince
    Reply, ECF No. 175, at 4-7.
                  Middle East News is alleged to have acted as an agent of the Crown Prince. According
    to the Amended Complaint, Middle East News acted “at the behest of [the Crown Prince]”; was
    “controlled” by the Crown Prince; was his “instrumentality”; and did not exist or act independently
    of the Crown Prince. Am. Compl. ¶¶ 89, 304(e). The Amended Complaint also alleges that all
    defendants were “agents” of the Crown Prince and should have registered under the Foreign Agent
    Registration Act as agents of the foreign state. See id. ¶¶ 195, 246-47.
                  As an alleged agent of the Crown Prince, Middle East News would be protected by
    conduct-based sovereign immunity. Middle East News adopts and incorporates by reference the
    arguments of Masharea Wa Enjazat IT Corporation LLC that the application of sovereign-
    immunity to agents of a foreign state—including corporate entities—is well established. Masharea
    Reply, ECF No. 182, at 7-8. Plaintiff has failed to point to any statute or court decision supporting
    her assertion that only natural persons, and not corporate entities, are entitled to conduct-based
    immunity.
             B.     MIDDLE EAST NEWS WOULD BE ENTITLED TO DERIVATIVE IMMUNITY
                  As an alleged agent of the Crown Prince, Middle East News would also be entitled to
    derivative immunity. Middle East News adopts and incorporates by reference the arguments of
    Masharea Wa Enjazat IT Corporation LLC that the concept of derivative immunity, as was applied
    by the Fourth Circuit in Butters v. Vance Int’l, Inc., 225 F.3d 462, 466 (4th Cir. 2000), remains
    good law. Masharea Reply, ECF No. 182, at 8-9. Contrary to Plaintiff’s assertions, Middle East
    News is not aware of the Eleventh Circuit ever having considered, let alone rejected, the
    application of derivative foreign common law immunity. This Court should apply derivative
    foreign immunity here.
    III. PLAINTIFF HAS FAILED TO STATE A CLAIM UNDER FLORIDA LAW
             A.     PLAINTIFF DOES NOT DISPUTE THAT HER CLAIMS AGAINST MIDDLE EAST
                    NEWS DO NOT APPLY TO THE EXTRATERRITORIAL CONDUCT ALLEGED
                  Plaintiff’s claims against Middle East News, all of which are brought under Florida
    common law, should be dismissed because they do not apply to the extraterritorial conduct alleged.
    As described in Middle East News’ Motion, state common law will not apply to extraterritorial




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    conduct unless such conduct “has or is intended to have substantial effect within [Florida’s]
    territory” or the conduct at issue is “recognized by the community of nations as of universal
    concern.” MEN Mot. at 14-15 (citing In re Chiquita Brands Int’l, Inc. Alien Tort Statute &
    S’holder Derivative Litig., 792 F. Supp. 2d 1301, 1355 (S.D. Fla. 2011), rev’d in part on other
    grounds, Cardona v. Chiquita Brands Int’l, Inc., 760 F.3d 1185 (11th Cir. 2014)).
                  As discussed in Section I above, there is no plausible allegation that Middle East News’
    extraterritorial Twitter post of the Financial Photo had, or was intended to have, any effect within
    Florida, much less a substantial effect. Moreover, like Chiquita, the common law claims against
    Middle East News—IIED, libel, and civil conspiracy to commit the preceding—are “ordinary
    torts” and not matters of universal concern among nations. 792 F. Supp. 2d at 1355 (dismissing
    state-law claims with no substantial effect in Florida because “ordinary tort claims” such as IIED
    are not “matters of universal concern recognized by the community of nations.”). Plaintiff’s
    Opposition entirely fails to address this dispositive extraterritoriality issue, much less rebut it.
             B.     PLAINTIFF HAS FAILED TO PLAUSIBLY ALLEGE IIED, LIBEL AND CIVIL
                    CONSPIRACY
                  In the Amended Complaint, Plaintiff’s claim for IIED is not based on the Financial
    Photo Tweet. The inquiry should end there as to IIED against Middle East News. Moreover, even
    if Plaintiff argued that the Financial Photo Tweet gave rise to her claim of IIED, the claim must
    still fail because Plaintiff’s IIED claim would be predicated on the same allegations as her libel
    claim. See, e.g., Fridovich v. Fridovich, 598 So. 2d 65, 70 (Fla. 1992) (“[A] plaintiff cannot
    transform a defamation action into a claim for intentional infliction of emotional distress simply
    by characterizing the alleged defamatory statements as ‘outrageous.’”). Recognizing these errors
    in her allegations, Plaintiff’s Opposition now attempts to broaden her IIED claim by arguing that
    Middle East News was employed by the Crown Prince “to execute schemes in the United States,”
    including by attacking Plaintiff. Opp. at 46. Plaintiff, however, fails to support this new argument
    by providing any example of these alleged schemes or attacks by Middle East News.
                  Plaintiff also fails to adequately plead her common law claims. First, none of the
    examples of allegedly “outrageous conduct” cited by Plaintiff in support of her IIED claim were
    allegedly conducted by Middle East News. See Opp. at 46-47. Middle East News is not alleged to
    have hacked Plaintiff’s mobile device, leaked any private photographs, nor attacked or threatened
    Plaintiff via social media. All Middle East News is alleged to have done is post the Financial Photo




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    Tweet—a tweet that stated that “‘hundreds of thousands in bonuses’ were paid by the Emir of
    Qatar to certain journalists at Al Jazeera.” Am. Compl. ¶ 180.
                Second, Plaintiff’s argument that she has made sufficient “specific allegations
    concerning mental suffering” is unavailing. The standard for “severe emotional distress” is not just
    whether Plaintiff “made specific allegations concerning mental suffering,” but whether the degree
    of that mental suffering “is so severe that no reasonable [person] [] could be expected to endure
    it.” Frias v. Demings, 823 F. Supp. 2d 1279, 1289 (M.D. Fla. 2011); see also Bickel v. City of
    Coral Springs, No. 17-cv-60606, 2017 WL 3336722, at *2 (S.D. Fla. Aug. 4, 2017) (quoting
    same). Plaintiff asserts in the Amended Complaint that she is “scared” to visit Florida, Am. Compl.
    ¶ 245, but such allegations of general fear are insufficient. Here, far short of the allegations in the
    Bickel case cited in her Opposition, Plaintiff has merely alleged “mental anguish as a result of
    Defendants’ ongoing conduct” in that she experiences anxiety and is hesitant to visit an
    undisclosed relative in Florida due to the presence of two defendants in a state of over 21 million
    people. Am. Compl. ¶¶ 245, 255, 310. These allegations are insufficient to constitute severe mental
    suffering under Florida law. See Negron v. CitiMortgage Inc., No. 16-CIV-61776, 2016 WL
    10953267, at *12 (S.D. Fla. Oct. 19, 2016) (“[T]he ‘emotional distress’ alleged in the Complaint
    merely ‘includes sleeplessness, irritability, [Plaintiff’s] fear of losing his house and anxiety.’
    Though far from trivial, the Court does not find that these allegations sufficiently plead that
    Plaintiff suffered severe mental suffering.” (internal citation omitted)).
                With regard to her claim for libel, Plaintiff has failed to plead actual malice. Plaintiff
    argues that she has sufficiently alleged actual malice against the USA Defendants and the
    Recruiting Defendants for their allegedly defamatory and harassing statements, and that Middle
    East News is liable for those acts as a co-conspirator. Opp. at 48, 53-54. But, as already briefed in
    extensive detail, Plaintiff does not allege plausible facts establishing a conspiratorial or agency
    relationship between Middle East News and these other defendants. 3 See supra Section 1.C.; MEN
    Mot. at 6-9. For the same reason, Plaintiff has failed to plausibly allege Middle East News was


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          Plaintiff cites Stern v. O’Quinn, No. 07-60534-CIV, 2008 WL 11401794 (S.D. Fla. Aug. 8,
    2008) to argue that inquiry into actual malice is inappropriate on a motion to dismiss. Opp. at 54.
    But this Court has held that a plaintiff cannot “plead actual malice without alleging facts
    substantiating defendant’s knowledge of the falsity of the challenged statements or defendant’s
    reckless disregard for the truth[.]” Baker v. Joseph, 938 F. Supp. 2d 1265, 1269 (S.D. Fla. 2013)
    (emphasis added).



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    involved in a conspiracy under Florida law.
                                            CONCLUSION
               For the foregoing reasons, the Court should dismiss with prejudice all claims against
    Middle East News. Additionally, Plaintiff’s renewed request for jurisdictional discovery in her
    Opposition brief should be denied. First, Plaintiff’s method of request “is procedurally improper.”
    Thompson v. Carnival Corp., 174 F. Supp. 3d 1327, 1339 (S.D. Fla. 2016) (Moore, J.); see also
    MiSK Reply, ECF No. 179, at 10. Second, as this Court previously held, Supreme Court and
    Eleventh Circuit precedent instructs that immunity defenses should be resolved prior to discovery
    so that immune defendants are not unnecessarily burdened with litigation requirements. See Order
    Granting Motions to Stay, ECF No. 130; Order on Plaintiff’s Motion for Jurisdictional Discovery,
    ECF No. 131.




     Dated:      October 14, 2021

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